
261 P.3d 664 (2011)
172 Wash. 2d 1018
STATE of Washington, Respondent,
v.
Sergio GONZALEZ-GUZMAN, Petitioner.
No. 86090-4.
Supreme Court of Washington.
September 27, 2011.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Madsen and Justices Alexander, Owens, J.M. Johnson and Wiggins, considered this matter at its September 26, 2011, Motion Calendar and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petitioner's Motion for Discretionary Review is granted. The matter is referred to the King County Superior Court for an evidentiary hearing and findings on the issue of waiver of the right to appeal.
For the Court
/s/ Madsen, C.J.
CHIEF JUSTICE
